Case 1:13-cv-24345-DLG Document 63-3 Entered on FLSD Docket 08/25/2014 Page 1 of 28




                          EXHIBIT 3
Case 1:13-cv-24345-DLG Document 63-3 Entered on FLSD Docket 08/25/2014 Page 2 of 28




                                     CURRICULUM VITAE


   GENERAL PERSONAL INFORMATION

   NAME:      Jorge Alfredo Herrera-Pino

   ADDRESS:      100 Miracle Mile (Suite 330), Coral Gables, FL 33134

   TELEPHONE: (305) 445-3222 E-MAIL: jherreramdphd@gmail.com
                                   j.herrera@neurobehavioralmiami.com

   CITIZENSHIP: U.S.A.

   LANGUAGES: Fluent English, Spanish, and French

   EDUCATION

   Bachelor of Arts (B.A.) (1968) Psychology. University of Miami, Coral Gables, FL.

   Master of Education (M.Ed.) (1971) Educational Psychology. University of Miami, Coral
   Gables, FL. (Internship at the Mailman Child Development Center).

   Specialist in Arts (Sp.A.) (1974) School Psychology. Eastern Michigan University,
   Ypsilanti, MI. (Internship at the LASED Developmental Disabilities Family Service Center,
   State of Michigan Department of Public Health).

   Doctor of Philosophy (Ph.D.) (1979) Educational and Clinical Neuropsychology. Wayne
   State University, Detroit, MI. (Internship at the Wayne State University School of Medicine
   and at the Lafayette Clinic, State of Michigan Department of Mental Health).

   Post-doctoral Fellowship (1982-1984) in Pediatric and Clinical Neuropsychology through
   the Division of Medical Psychology, Department of Medical Specialties, Universidad de
   Alcalá, Madrid, Spain.

   Doctor of Medicine (M.D.) (1997) Department of Medical Specialties. Universidad de
   Alcalá, Madrid, Spain.

   PROFESSIONAL EXPERIENCE

   Academic Advisor: Ph.D. Program School of Medicine Universidad Autónoma de Santo
   Domingo. Dominican Republic. 2011 to present.

   Director: Memory Clinic at Metropolitan Hospital, Miami, FL 2010 to present.

   Member Medical Executive Committee:: West Gables Rehabilitation Healthcare Center.
Case 1:13-cv-24345-DLG Document 63-3 Entered on FLSD Docket 08/25/2014 Page 3 of 28



                                                                                         2
   Miami, FL 2010 to present.

   Diector and Chief Operations Officer: Neuro Rehabilitation Associates, LLC. Miami, FL,
   2010 to present.

   Adjunct Professor: (Department of Developmental Psychology and Communication).
   University of Vigo. Galicia, Spain. 2010 to present.

   Adjunct Professor of Neuropsychology: Doctoral Program in Clinical Psychology. Santa
   María la Antigüa University. Panamá, Panamá, 2010 to present.

   Peer Reviewer: Pediatrics 2009 to present.

   Associate Professor: (Department of Psychiatry): Herbert Wertheim College of Medicine,
   Florida International University, Miami, FL, 2009 to present.

   Course Deputy Director for Professional Behavior:: Herbert Wertheim College of
   Medicine, Florida International University, Miami, FL, 2009 to present.

   Member: Doctor of Psychology Advisory Board. Carlos Albizu University. Miami, FL. 2007
   to present.

   Executive Director: Neurobehavioral Institute of Miami, Miami, FL, 1990 to present.

   Medical Director: Neuropsychology Department. West Gables Rehabilitation Hospital,
   Miami, FL, 2000 to present.

   Member Medical Executive Committee: West Gables Rehabilitation Hospital. Miami, FL
   2005 to present.

   Director: Department of Behavioral Medicine. MCCI (Medical Care Consortium, Inc.),
   Miami, FL, 2004 to present.

   Director: Doctor of Psychology in Applied Cognitive Neuroscience Program, School
   of Medicine and Humanities, Universidad Maimónides, Buenos Aires, Argentina, 2005 to
   present.

   Academic Program Advisor for Health Sciences: Multicultural Training Institute, Florida
   International University, Miami, FL, 2005 to 2009.

   Professor of Applied Cognitive Neuroscience: School of Medicine and Humanities.
   Universidad Maimónides, Buenos Aires, Argentina, 2002 to present.

   Visiting Professor of Psychology: Universidad del Norte, Barranquilla, Colombia, 2006
   to present.
Case 1:13-cv-24345-DLG Document 63-3 Entered on FLSD Docket 08/25/2014 Page 4 of 28



                                                                                           3

   Coordinator: International Post Graduate Certificate Program in Developmental and
   Learning Disorders. School of Continuing Studies, University of Miami, Coral Gables, FL,
   1998-2000.

   Consulting Neuropsychologist: Multiple Sclerosis Clinic. Baptist Health System Doctors
   Hospital, Coral Gables, FL, 2003 to 2007.

   Visiting Professor of Psychiatry (Neuropsychology and Medical Psychology): Division of
   Medical Psychology. Department of Medical Specialties, School of Medicine, Universidad
   de Alcalá, Madrid, Spain, 1992 to 2002.

   Adjunct Faculty: Graduate Program in Cognitive and Developmental Disorders and
   Graduate Program in Forensic Psychology, Universidad del Norte, Barranquilla, Colombia,
   2002 to present.

   Visiting Professor: Graduate Programs in Medicine and Psychology (Applied Cognitive
   Neuroscience). Universidad Maimónides, Buenos Aires, Argentina, 2002 to present.

   Clinical Director: Brain Injury Rehabilitation Program. West Gables Rehabilitation
   Hospital, Miami, FL, 1989 to 1993.

   Consulting Neuropsychologist: Comprehensive Rehabilitation Program. West Gables
   Rehabilitation Hospital, Miami, FL, 1989 to present.

   Consulting Neuropsychologist: Department of Medicine. Coral Gables Hospital, Coral
   Gables, FL, 1995 to 2008.

   Clinical Director: Center for Neurobehavioral Services. Hialeah Hospital, Hialeah, FL,
   1988 to 1990.

   Consulting Neuropsychologist: Department of Psychiatry. Mercy Hospital, Miami, FL,
   1988 to present.

   Consulting Neuropsychologist: Refugee Mental Health Program. United States Public
   Health Service. 1987 to 1988.

   Consultant: Developmental Disabilities Program. District XI. Department of Health and
   Rehabilitative Services, Miami, FL, 1987-1991.

   Consultant: Departments of Health and Education. Miccossukee Tribe of Indians, Miami,
   FL, 1985-1990.

   Chancellor and Professor of Neuropsychology: Miami Institute of Psychology of the
   Caribbean Center for Advanced Studies, Miami, Florida, 1984 to 1986. (Presently Carlos
Case 1:13-cv-24345-DLG Document 63-3 Entered on FLSD Docket 08/25/2014 Page 5 of 28



                                                                                       4
   Albizu University).

   Cooperating Specialist (Post-doctoral fellow): Oficina de Educación Iberoamericana,
   Madrid, Spain, 1982 to 1984.

   Coordinator and Research Professor: Graduate Program in Psychology and Education.
   Instituto Tecnológico de Santo Domingo, Dominican Republic, 1979 to 1982.

   Coordinator: AVEPANE (Venezuelan Association of Parents and Friends of Exceptional
   Children). Caracas, Venezuela, 1978 to 1979.

   Assistant Professor: School of Human Development Professions. Oakland University,
   Oakland, MI, 1976 to 1978.

   Graduate Assistant (Research Fellow): Division of Educational Services and Research.
   School of Medicine. Wayne State University, Detroit, MI, 1975 to 1976.

   Psychology Intern: LASED Developmental Disabilities Family Service Center. State of
   Michigan Department of Public Health, Detroit, MI, 1973 to 1974.

   Teaching Fellow: Department of Psychology. Eastern Michigan University, Ypsilanti, MI,
   1973 to 1974.

   Psychologist: Mental Retardation Section. Dominican Rehabilitation Association, Santo
   Domingo, Dominican Republic, 1971 to 1973.

   Instructor: Department of Psychology. Universidad Nacional Pedro Henríquez Ureña,
   Santo Domingo, Dominican Republic, 1968 to 1973.

   MEMBERSHIP IN PROFESSIONAL ORGANIZATIONS

   AMERICAN PSYCHOLOGICAL ASSOCIATION
   Division of Clinical Neuropsychology
   Society for the Psychological Study of Ethnic Minority Issues
   INTERNATIONAL NEUROPSYCHOLOGY SOCIETY
   FLORIDA PSYCHOLOGICAL ASSOCIATION
   DADE COUNTY PSYCHOLOGICAL ASSOCIATION
   SOCIETY FOR THE SCIENTIFIC STUDY OF TRAUMATIC BRAIN INJURY
   SOCIEDAD ESPAÑOLA DE PSIQUIATRIA INFANTIL Y DEL ADOLESCENTE
   AMERICAN COLLEGE OF FORENSIC EXAMINERS
   NATIONAL ACADEMY OF NEUROPSYCHOLOGY
   AMERICAN ACADEMY OF EXPERTS IN POST-TRAUMATIC STRESS
   AMERICAN SOCIETY OF CLINICAL HYPNOSIS

   LICENSURE
Case 1:13-cv-24345-DLG Document 63-3 Entered on FLSD Docket 08/25/2014 Page 6 of 28



                                                                                                   5

   Licensed Psychologist in the State of Florida (PY3733)

   PUBLICATIONS AND PRESENTATIONS

   García-Campos, N., Herrera, J.A., Gutiérrez de Álamo, J. (2011), Use of neuropsychological
   tests with patients with ADHD. In C. Soutullo Esperón (Ed.). Essential psychopharmacological
   guide for children and adolescents. Madrid (ES): Editorial Médica Panamericana. (ISBN 978-84-
   9834-403-4)

   Herrera Pino, J.A, (2010). The neuropsychological interpretation of the Wechsler
   Intelligence Scale for Children. Presented at the III Internatiional Congress of Applied
   Cognitive Neuroscience. Barranquilla, Colombia.

   Herrera Pino, J.A. (2010). The neuropsychological evaluation of the infant. Presented in
   the II International Congress of Applied Cognitive Neuroscience. Santo Domingo,
   Dominican Republic.

   Herrera-Pino, J.A. & Maceira-Gago, A. (2010). The practice of consistent physical activity as a
   protection factor against dementia. Presented the III International Congress of Sports Sciences
   and Physical Education. Pontevedra, Galicia, Spain,

   Quintero, F.J., García-Campos, N. Loro, M., Miernau, I.. & Herrera-Pino, J.A. (2010). Intellectual
   abilities in children with ADHD. Presented in Eunethydis ADHD Conference: From Data to Best
   Clinical Practice. Amsterdam, Holland,

   Herrera Pino, J.A., Maceira Gago, A., & Iturry, M. (2010). The neuropsychological
   interpretation of the Wechsler Adult Intelligence Scale. Coral Gables (FL): Interamerican
   Academy of Applied Cognitive Neuroscience.

   Herrera Pino, J.A. Salcedo Samper, G.P., & Jubiz Bassi, N.S. (2010). The
   neuropsychological interpretation of the Benton Visual Retention Test. Coral Gables (FL):
   Interamerican Academy of Applied Cognitive Neuroscience.

   Herrera Pino, J.A., Jubiz Bassi, N.J., & Salcedo Samper, G.P. (2010). The
   neuropsychological interpretation of the Symbol Digit Modalities Test. Coral Gables (FL):
   Interamerican Academy of Applied Cognitive Neuroscience.

   Herrera Pino, J.A. Neuropsychological diagnosis and intervention in specific learning
   disorders. Presented at Corporacion Universitaria de la Costa, Barranquilla, Colombia,
   2009.

   Herrera Pino, J.A. Cognitive rehabilitation. Presented in the International Congress of
   Applied Cognitive Neurosciences, Cartagena, Colombia, 2009.

   Herrera Pino, J.A. Neuropsychological foundations of dyslexia. Presented in the
Case 1:13-cv-24345-DLG Document 63-3 Entered on FLSD Docket 08/25/2014 Page 7 of 28



                                                                                               6
   International Congress of Applied Cognitive Neurosciences, Cartagena, Colombia, 2009.

   Herrera Pino, J. A., Gutiérrez del Álamo, F. J., & García Álvarez, A. R. (2009).
   Neuropsychological foundations of attention deficit hyperactivity disorder. In F. J. Quintero
   Gutiérrez del Álamo, J. Correas Lauffer, & F. J. Quintero Lumbreras (Eds.). Attention deficit
   hyperactivity disorder across the life span (3rd Ed.). Madrid: Elsevier. (ISBN13:
   978844581907-4)

   Herrera Pino, J. A., Gutiérrez del Álamo, F. J., & García Álvarez, A. R. (2009).
   Neuropsychological evaluation of attention deficit hyperactivity disorder. In F. J. Quintero
   Gutierrez del Alamo, J. Correa Lauffer, & F. J. Quintero Lumbreras (Eds.). Attention deficit
   hyperactivity disorder across the life span. Madrid: Elsevier. (ISBN13: 978844581907-4)

   Gutiérrez del Álamo, F. J., Herrera Pino, J. A., García, A. R., Correas Lauffer, J., &
   Quintero Lumbreras, F. J. (2009). Historical evolution of attention deficit hyperactivity
   disorder and related concepts. In F. J. Quintero Gutiérrez del Álamo, J. Correa Lauffer, &
   F. J. Quintero Lumbreras (Eds.). Attention deficit hyperactivity disorder across the life span
   (3rd Ed.). Madrid: Elsevier. (ISBN13: 978844581907-4)

   Gutiérrez del Álamo, F. J., Herrera Pino, J. A., Correa Lauffer, J., San Sebastian Cabases,
   Garcia Campos N., & Loro Lopez, M. (2009). Clinical charactecteristics of attention deficit
   hyperactivity in childhood. In F.J. Quintero Gutiérrez del Álamo, J. Correa Lauffer, & F. J.
   Quintero Lumbreras (Eds.). Attention deficit hyperactivity disorder across the life span (3rd
   Ed.). Madrid: Elsevier. (ISBN13: 978844581907-4)

   Quintero Gutiérrez del Álamo, F. J., Garcia Campos, N., Unzeta Conde, B., Pando
   Velazco, F., & Herrera Pino, J. A. (2009). Diagnosis of attention deficit hyperactivity
   disorder. In F.J. Quintero Gutiérrez del Álamo, J. Correa Lauffer, & F. J. Quintero
   Lumbreras (Eds.). Attention deficit hyperactivity disorder across the life span (3rd Ed.).
   Madrid: Elsevier. (ISBN13: 978844581907-4)

   Herrera, J.A. The potential of neuropsychology in the rehabilitation hospital: The West
   Gables model of cognitive rehabilitation. Presented at the First RehabCare Medical
   Directors Symposium. Miami, FL, 2009.

   Herrera, J.A. Neuropsychology in child and adolescent psychiatry. Presented at the IV
   Congress on Attention Deficit Hyperactivity Disorder, Madrid, Spain, 2009.

   Puerta Lopera, I.C., Betancur Arias, J.D., & Herrera Pino, J.A. (2009). Malingering
   neurocognitive dysfunction in the field of forensic neuropsychology. Theoretical
   approximations. Psicología Desde el Caribe, 23. 2-20.

   Herrera Pino, J.A. (2008). Introduction to neuropsychological evaluation. . Coral Gables
   (FL): Interamerican Academy of Applied Cognitive Neuroscience.
Case 1:13-cv-24345-DLG Document 63-3 Entered on FLSD Docket 08/25/2014 Page 8 of 28



                                                                                             7
   Herrera Pino, J.A., Jubiz Bassi, N.S., & Salcedo Samper, G.P. (2008).
   Neuropsychological interpretation of the Halstead Category Test. Coral Gables (FL):
   Interamerican Academy of Applied Cognitive Neuroscience.

   Herrera Pino, J.A. & Barceló Martínez, E. (2008). Neuropsychological interpretation of the
   Wisconsin Card Sorting Test. Coral Gables (FL): Interamerican Academy of Applied
   Cognitive Neuroscience.

   Herrera Pino, J.A. & Castellanos Araujo, C.E. (2008). Neuropsychological interpretation of
   the Stroop Word and Color Test. Coral Gables (FL): Interamerican Academy of Applied
   Cognitive Neuroscience. .

   Herrera, J.A. The MINI-MENTAL STATUS EXAMINATION: A frequently used, but not well
   known instrument. Presented at the International Meeting of Neurosciences and
   Neuropsychology, Neiva, Colombia, 2008.

   Herrera, J.A. Neuropsychological foundations of dyslexia. Presented at the International
   Meeting of Neurosciences and Neuropsychology, Neiva, Colombia, 2008.

   Herrera Pino, J.A. Psychological evaluation of the offender. Presented at the IV
   International Congress of Forensic and Judicial Psychology. Barranquilla, Colombia, 2008.

   Herrera, J.A. The MINI-MENTAL STATUS EXAMINATION: A frequently used, but not well
   known instrument. Paper presented at the Mid-Year Meeting of the International
   Neuropsychological Society, Buenos Aires, Argentina, 2008.

   Herrera Pino, J.A. & Allegri, R.F. (2007). Neuropsychological interpretation of the
   Controlled Oral Word Association Test. Coral Gables (FL): Interamerican Academy of
   Applied Cognitive Neuroscience.

   Herrera Pino, J.A., Román, N., & Diéguez, N. (2007). Neuropsychological interpretation of
   the Rey Auditory Verbal Learning Test. Coral Gables (FL): Interamerican Academy of
   Applied Cognitive Neuroscience.

   Herrera, J.A. & Vargas, J.L. (Eds.) (2007). Handbook of neuropsychological examination of
   dementia. Coral Gables, FL: Interamerican Academy of Applied Cognitive Neuroscience.
   (ISBN: 978-1-4243-333-2).

   Garcia Alvarez, R. & Herrera Pino, J. (2007) Epidemiology of Attention Deficit Hyperactivity
   Disorder. Latin American Journal of Psychiatry, 7 (September), 39-48.

   Herrera Pino, J.A. Neuropsychological foundations of psychopathy. Presented at the II
   International Congress of Forensic and Judicial Psychology. Barranquilla, Colombia, 2006.

   Herrera Pino, J.A., Lewis Harb, S., Jubiz Bassi, N.S., & Salcedo Samper, G.P. (2007).
Case 1:13-cv-24345-DLG Document 63-3 Entered on FLSD Docket 08/25/2014 Page 9 of 28



                                                                                                8
   Neuropsychological foundations of developmental dyslexia. Psychology from the
   Caribbean, 19, 222-268. (ISSN: 0123-417X)

   Herrera Pino, J. A., Gutiérrez del Álamo, F. J., & García Álvarez, A. R. (2006).
   Neuropsychological foundations of attention deficit hyperactivity disorder. In F. J. Quintero
   Gutiérrez del Álamo, J. Correas Lauffer, & F. J. Quintero Lumbreras (Eds.). Attention deficit
   hyperactivity disorder across the life span. Madrid: Ergon. (ISBN: 84-8473-415-3)

   Herrera Pino, J.A., Román, N., & Puentes Rosso, P.. (2006). Neuropsychological
   interpretation of the Rey Osterrieth Complex Fiogure Test. Coral Gables (FL):
   Interamerican Academy of Applied Cognitive Neuroscience.

   Herrera Pino, J. A., Gutiérrez del Álamo, F. J., & García Álvarez, A. R. (2006).
   Neuropsychological evaluation of the child with attention deficit hyperactivity disorder. In F.
   J. Quintero Gutierrez del Alamo, J. Correa Lauffer, & F. J. Quintero Lumbreras (Eds.).
   Attention deficit hyperactivity disorder across the life span. Madrid: Ergon. (ISBN: 84-8473-
   415-3)

   Gutiérrez del Álamo, F. J., Herrera Pino, J. A., García, A. R., Correas Lauffer, J., &
   Quintero Lumbreras, F. J. (2006). Historical evolution of attention deficit hyperactivity
   disorder and related concepts. In F. J. Quintero Gutiérrez del Álamo, J. Correa Lauffer, &
   F. J. Quintero Lumbreras (Eds.). Attention deficit hyperactivity disorder across the life span.
   Madrid: Ergon. (ISBN: 84-8473-415-3)

   Gutiérrez del Álamo, F. J., Herrera Pino, J. A., García, A. R., García Campos, N., Riaza
   Bermudo-Soriano, C., Clavel Claver, M., & Quintero Lumbreras, F. J. (2006). Diagnostic
   approximation to attention deficit hyperactivity disorder. In F.J. Quintero Gutiérrez del
   Álamo, J. Correa Lauffer, & F. J. Quintero Lumbreras (Eds.). Attention deficit hyperactivity
   disorder across the life span. Madrid: Ergon. (ISBN: 84-8473-415-3)

   Puente García, R., Loro López, M., Riaza Bermudo-Soriano, C., Herrera Pino, J. A.., &
   Quintero Gutiérrez del Álamo, F. J. (2006). Comorbilities in attention deficit hyperactivity
   disorder, importance for diagnosis. In F.J. Quintero Gutiérrez del Álamo, J. Correa Lauffer,
   & F. J. Quintero Lumbreras (Eds.). Attention deficit hyperactivity disorder across the life
   span. Madrid: Ergon. (ISBN: 84-8473-415-3)

   Herrera-Pino, J. A. & Quintero Gutiérrez del Álamo, F. J. Diagnosis of ADD: Clinical
   perspective and neuropsychological evaluation. Paper presented at the Symposium on
   Attention Deficit Disorder Across the Life Span: A Multicountry Perspective XIII World
   Congress of Psychiatry,
   Cairo, Egypt, 2005.

   Herrera Pino, J.A. Cognitive rehabilitation of learning disorders. Presented at the 1st
   International Symposium on Cognitive, Educational, and Pharmacological
   Rehabilitation. Barranquilla, Colombia, 2005.
Case 1:13-cv-24345-DLG Document 63-3 Entered on FLSD Docket 08/25/2014 Page 10 of 28



                                                                                              9

    Herrera Pino, J.A. Neurocognitive consequences of mild traumatic head injury: The
    post-concussion syndrome. Presented at the 1st International Symposium on Cognitive,
    Educational, and Pharmacological Rehabilitation. Barranquilla, Colombia, 2005.

    Herrera Pino, J.A. Neurocognitive treatment of chronic pain. Presented at the 1st
    International Symposium on Cognitive, Educational, and Pharmacological
    Rehabilitation. Barranquilla, Colombia, 2005.

    Herrera, J.A. Cognitive habilitation. Presented at the International Workshop on
    Cognitive Disorders and Neurological Bases of Learning. Barranquilla, Colombia, 2003.

    Herrera, J.A. Neuropsychological foundations of attention deficit hyperactivity disorder.
    Presented at the International Workshop on Cognitive Disorders and Neurological
    Bases of Learning. Barranquilla, Colombia, 2003.

    Herrera Pino, J.A. & Quintero Gutiérrez del Álamo, F,J. (2003). Impact of trauma on
    anxiety and attentional processes. Paper presented at the V Symposium of the
    Dominican College of Neuropsychopharmacology, Santo Domingo, Dominican
    Republic, 2003.

    Herrera Pino, J. A. Neuropsychological rehabilitation of the severe head trauma patient.
    Presented at the 1st International Head Trauma Symposium. Santo Domingo, Dominican
    Republic, 1998.

    Herrera Pino, J.A. Medical psychology of pain: when medication is not enough. Presented
    as an invited address to opt for the title of Doctor of Education and Humanities (Honoris
    Causa) at Universidad Nacional Pedro Henríquez Ureña, Santo Domingo, Dominican
    Republic, 1998.

    Herrera Pino, J.A. Neuropsychological signs and symptoms of mild traumatic head injury.
    Unpublished doctoral dissertation. Madrid: Universidad de Alcalá, 1997.

    Herrera, J.A., Logan, C.H., Cooker, P.G., Morris, D.E. y Lyman, D.E. Phonological
    awareness and phonetic-graphic conversion: a study of the effects of two intervention
    paradigms with learning disabled children. Reading Improvement, 34 (2), 1997, 71-89.
    (ISSN: 003-0510)

    Quintero Lumbreras, F.J., Lyman, D.E., Herrera-Pino, J.A., Quintero Gutiérrez del Alamo,
    F.J., Logan, C.H., Cooker, P.G., Morris, D.P. & Pereira, L. Implicit memory training in
    children with learning disabilities. Are these children active or enactive readers? Psiquis,
    18 (7), 1997, 279-290. (ISSN: 0210-8348).

    Herrera, J.A. Psychopathology associated to mild head trauma. Presented in the VIII
    Dominican Congress of Psychiatry. Santo Domingo, Dominican Republic, 1997.
Case 1:13-cv-24345-DLG Document 63-3 Entered on FLSD Docket 08/25/2014 Page 11 of 28



                                                                                            10

    Herrera, J.A. & García, A.R. A comparison of two methods of neurocognitive rehabilitation
    in mild head trauma: case studies. Presented at the National Cognitive Rehabilitation
    Conference. Washington, D.C., 1996.

    García, A.R. & Herrera, J.A. Effectiveness of neurocognitive rehabilitation 10 years post
    head trauma: case studies. Presented at the National Cognitive Rehabilitation Conference.
    Washington, D.C., 1996.

    Herrera Pino, J.A., Quintero Lumbreras, F.J., García Álvarez, R. Maceira Gago, A. &
    Quintero Gutiérrez del Álamo, F.J. The importance of the neuropsychological evaluation of
    the learning disabled child. Psiquis, 17 (6), 1996, 293-306. (ISSN: 0210-8348).

    Herrera Pino, J.A. & García Álvarez, R. The importance of the neuropsychological
    evaluation of the head trauma patient: conceptual approaches and case studies. Presented
    at the International Congress of Neurology and Neurosurgery. Santo Domingo, Dominican
    Republic, 1995.

    Herrera Pino, J.A. Neurobehavioral consequences of mild traumatic head injury in children
    and adolescents: review of the literature and case studies. Presented at the Annual
    Meeting of the European Society for Pediatric Research, Alicante, Spain, 1995.

    Quintero Lumbreras, F.J., Herrera Pino, J.A. and Quintero, F.J. Clinical validation of a
    protocol for the assessment of psychophysiological manifestations of anxiety in children
    and adolescents. Presented at the Annual Meeting of the European Society for Pediatric
    Research, Alicante, Spain, 1995.

    Quintero Lumbreras, F.J., Herrera, J.A. & Quintero, F.J. The psychophysiological profile as
    an instrument in the evaluation of chronic pain: development of a protocol and case
    studies. Psiquis, 16 (4), 1995, 34-43. (ISSN: 0210-8348).

    Herrera Pino, J.A., Quintero Lumbreras, F.J., Grodzinski Schwartz, J, & Quintero Gutiérrez
    del Álamo, F.J. Neurobehavioral consequences of mild head trauma: the post-concussion
    syndrome. Psiquis, 16 (5), 1995, 173-183. (ISSN: 0210-8348).

    Herrera-Pino, J.A. The neuropsychological evaluation of the brain-injured patient: clinical
    and forensic implications. Presentation made at the Annual Meeting of the Medical
    Specialists Association of Santo Tomás Hospital, Panama, 1994.

    Herrera-Pino, J.A. The use of physiological self-regulation in the practice of medicine.
    Presentation made at the Annual Meeting of the Medical Specialists Association of Santo
    Tomás Hospital, Panama, 1994.

    Herrera Pino, J.A., Quintero Lumbreras, F.J., Grodzinski Schwartz, J. & Quintero, F.J.
    Psychophysiological profiling as an instrument for the evaluation of pain in adolescents:
Case 1:13-cv-24345-DLG Document 63-3 Entered on FLSD Docket 08/25/2014 Page 12 of 28



                                                                                              11
    development of a protocol. Presented at the V National Meeting of the Spanish Pediatric
    Society (Section on Adolescent Medicine), Alicante, Spain, 1994.

    Quintero Lumbreras, F.J., Herrera Pino, J.A., Quintero, F.J., & Ruiz Cerrajero, M.J. Case
    studies in the evaluation and treatment of anxiety and stress in adolescents through
    biofeedback. Paper presented at the V National Meeting of the Spanish Pediatric Society
    (Section on Adolescent Medicine), Alicante, Spain, 1994

    Herrera-Pino, J.A. & Quintero-Lumbreras, F.J. New frontiers in the treatment of attentional
    deficit-hyperactivity disorders through neuro-feedback: Case studies. Presented at the IX
    World Congress of Psychiatry, Rio de Janeiro, Brazil, 1993.

    Herrera-Pino, J.A., Quintero-Lumbreras, F.J. and Grodzinski-Schwartz, J. The
    psychophysiological profile as an instrument in the evaluation of the chronic pain patient:
    Development of a protocol and case studies. Presented at the IX World Congress of
    Psychiatry, Rio de Janeiro, Brazil, 1993.

    Herrera-Pino, J.A. Neurobehavioral sequelae of traumatic head injury: Is the post-
    concussion syndrome fact or fiction? Paper presented at the Orlando Meeting of the
    Florida Claims Association, Orlando, 1991.

    Herrera-Pino, J.A., Quintero-Lumbreras, F.J., Diéguez-Herrera, N. & Alvarez, A.I. Clinical
    validation of a protocol for the assessment of some psychosomatic characteristics related
    to stress. Paper presented at the 10th World Congress of the International College of
    Psychosomatic Medicine, Madrid, October, 1989.

    Parks, R., Herrera, J.A., Wolfe, L., Inglis, A., Latterner, R., Lorenzo, G., Barker, W., and
    Carner, R. Positron Emission Tomography: systems interpretation of cortical organization
    with PPVT-R. Paper presented at the Convention of the American Psychological
    Association, New York, August, 1987.

    Herrera, J.A. Implications of cultural differences for Cuban entrant mental health care.
    Invitational address delivered at the 3rd. Annual Clinical and Administrator's Seminar,
    Refugee Mental Health Program, United States Public Health Service, National Institute of
    Mental Health, Baltimore, January, 1987.

    Herrera, J.A. Personality disorders.        Presented at the 3rd. Annual Clinical and
    Administrator's Seminar, Refugee Mental Health Program, United States Public Health
    Service, National Institute of Mental Health, Baltimore, January 1987.

    Parks, R., Herrera, J.A., Latterner, R., Lorenzo, G., and Carner, R. (F-18) 2-Fluor-2-Deoxy-
    D-Glucose method of regional cerebral glucose metabolism by PET in young adults and
    the Trail Making Test (Abstract). Archives of Clinical Neuropsychology, 1 (3), 1986, 261.

    Herrera, J.A. Prospective view of special education in Spanish-America.          Invitational
Case 1:13-cv-24345-DLG Document 63-3 Entered on FLSD Docket 08/25/2014 Page 13 of 28



                                                                                           12
    address presented at the Cátedra de América, Oficina de Educación Iberoamericana,
    Madrid, Spain, 1982.

    Herrera, J.A. & Ureña, D.A. Brain behavior relationship in children placed in compensatory
    education programs. Presented at the XVIII Congress of the Inter-American Psychology
    Society, Santo Domingo, 1981.

    Herrera, J.A. Construct validity of the Learning Disabilities Indicators Questionnaire.
    Presented at the XVIII Congress of the Inter-American Psychology Society, Santo
    Domingo, 1981.

    Sahdalá, M.C. & Herrera, J.A. The use of the Gesell Institute Pre-School Tests in the
    diagnosis of mental retardation. Presented at the XVIII Congress of the Inter-American
    Psychology Society, Santo Domingo, 1981.

    Herrera, J.A. Some auditory discrimination correlates of auscultation.       Unpublished
    doctoral dissertation. Detroit: Wayne State University, 1979.

    DOCTORAL DISSERTATION RESEARCH PROJECTS CHAIRED

    Agron, J. (2002). Handbook of the pathophysiology of disease for the detection of Axis-III
    disorders.
    Unpublished doctoral dissertation. Miami (FL): Carlos Albizu University.

    Barcelo, E.A. (2009). Cognitive impairment in patients with diagnosis of respiratory
    disorders associated with sleep (obstructive apnea/hypopnea). Unpublished doctoral
    dissertation. Buenos Aires (Argentina): Maimonides University.

    Bauer, S. (2001). The history of Norman Geschwind and his contributions to
    neuropsychology. Unpublished doctoral dissertation. Miami (FL): Carlos Albizu University.

    Bermudez, R. (2009). The effect of hospitalization in the mental state of the neurological
    patient. Unpublished doctoral dissertation. Buenos Aires (Argentina): Maimonides
    University.

    Blumtritt, C.A. (2009) Behavior modification intervention program through plastic art
    (drawing and painting) in persons with diagnosis of autism between the ages of 18 and
    25 years in the City of Miami, Florida, United States. Unpublished doctoral dissertation.
    Buenos Aires (Argentina): Maimonides University.

    Boschmann-Parlade, S. (2000). A case study of Tourette syndrome, Moebius syndrome
    and developmental delays in a 19 year old Hispanic female. Unpublished doctoral
    dissertation. Miami (FL): Carlos Albizu University.
    .
    Castellanos, C.E. (2009). Neurocognitive functioning in persons who live with HIV and
Case 1:13-cv-24345-DLG Document 63-3 Entered on FLSD Docket 08/25/2014 Page 14 of 28



                                                                                                 13
    encephalic toxoplasmosis. Unpublished           doctoral   dissertation.   Buenos    Aires
    (Argentina): Maimonides University.

    Castillo, H. (2009). Frontal lobe functioning in different subtypes of Attention Deficit
    Hyperactivity Disorder through a neuropsychological battery. Unpublished doctoral
    dissertation. Buenos Aires (Argentina): Maimonides University.

    Gallardo Ríos, A.M. (2010). The effect of the dynamic evaluation on the learning
    potential of children with intellectual disabilities. Unpublished doctoral dissertation.
    Buenos Aires (Argentina): Maimonides University.

    Gonzalez, V. (1991). Automatic processing of rotation by one sub-type of dyslexic.
    Unpubished dpctpral dissertation. Miami (FL). Carlos Albizu University.

    Jacobus, N.C. (2009). Development and validation of a protocol for the evaluation of
    language functions profiles in aphasic patients. Unpublished doctoral dissertation.
    Buenos Aires (Argentina): Maimonides University.

    Jubiz Bassi, N.S. (2009). Predictive capacity of the Mini-Mental Status Examination in
    detecting impairments of higher cerebral functions in patients with memory complaints.
    Unpublished doctoral dissertation. Buenos Aires (Argentina): Maimonides University.

    Lavandera-Herrera, L. (1987). A descriptive study of the learning styles of the
    Miccosukee children. Unpublished doctoral dissertation. Miami (FL): Carlos Albizu
    University.

    Martinez-Ponce de Leon. J.A. (1986). The effects of personality and environment as
    varibles on the process of acculturation of Cuban Mariel immigrants. Unpublished
    doctoral dissertation. Miami (FL): Carlos Albizu University.

    Martinez. S. (2005). Stress management as an adjunct treatment in patients identified
    with coronary artery disease: A program design. Unpublished doctoral dissertation. Miami
    (FL): Carlos Albizu University.

    Montas, G.C. (2009). Neurocognitive profile of a sample of male physical abusers in the
    context of the family. Unpublished doctoral dissertation. Buenos Aires (Argentina):
    Maimonides University.

    Olarte, D. (2010). Relationship between executive functions and theory of mind in a sample of
    childeren with Asperger Syndrome and normal children. Unpublished doctoral dissertation.
    Buenos Aires (Argentina): Maimónides University, Buenos Aires.


    Ortiz Becher, M. (2004). Neurocognitive rehabilitation of children with Attention Deficit
    Hyperactivity Disorder: A program design. Unpublished doctoral dissertation. Miami (FL):
Case 1:13-cv-24345-DLG Document 63-3 Entered on FLSD Docket 08/25/2014 Page 15 of 28



                                                                                          14
    Carlos Albizu University.

    Parks, R.W. (1986). Positron emission tomography and magnetic resonace imaging in
    the neuropsychological assessment of dementia and normal functioning. Unpublished
    doctoral dissertation. Miami (FL): Carlos Albizu University.

    Parks, R.W. (1987): Positron emission tomography and intelligence screening
    measures: A systems interpretation of cortical organization with the Peabody Picture
    Vocabulary Test-Revised and Shipley Institute of Living Scale. Unpublished doctoral
    dissertation. Miami (FL): Carlos Albizu University.

    Puentes, P. (2009). Inhibitory control phenotype in Attention Deficit Hyperactivity
    Disorder in paricipants with family history of the condition. Unpublished doctoral
    dissertation. Buenos Aires (Argentina): Maimonides University.

    Puerta, I.C. (2009). Detection of malingered cognitive dysfunction through the Test of
    Memory Malingering. Unpublished doctoral dissertation. Buenos Aires (Argentina):
    Maimonides University.

    Restrepo, J.C. (2009). Relationship between executive functions and emotional status in
    young adults. Unpublished doctoral dissertation. Buenos Aires (Argentina): Maimonides
    University.

    Rodriguez, L.J. (1990). Psychological stress-related symptoms in a tri-ethnic female
    working population. Unpublished doctoral dissertation. Miami (FL): Carlos Albizu
    University.

    Romero, M.G. (2009). Executive function dimensions in adolescents with borderline
    intellectual ability. Unpublished doctoral dissertation. Buenos Aires (Argentina):
    Maimonides University.

    Sanchez, E.Y. (2009). Neurocognitive profiles of cocaine and polionsumption addicts
    according to time of abstinence. Unpublished doctoral dissertation. Buenos Aires
    (Argentina): Maimonides University.

    Santi-Hochfelder, E. (1996) The effect of stress on insulin dependent diabetics.
    Unpublished doctoral dissertation. Miami (FL): Carlos Albizu University.

    Schnurbusch, C. (2009). Correlational analyis of lateralization of neurocognitive
    functions and motor laterality evaluated with neuropsychological tests. Unpublished
    doctoral dissertation. Buenos Aires (Argentina): Maimonides University.
Case 1:13-cv-24345-DLG Document 63-3 Entered on FLSD Docket 08/25/2014 Page 16 of 28



                                                                                                       15
    Zapata, M.E. (2009). Executive functions, behavioral changes, and social cognition in
    patients with trauma to the frontal lobes. Unpublished doctoral dissertation. Buenos
    Aires (Argentina): Maimonides University.

    DOCTORAL DISSERTATION RESEARCH PROJECTS CURRENTLY IN PROGRESS

    Arana Medina, C.M. Neuropsychological profile of patients with multiple sclerosis.
    Maimónides University, Buenos Aires, Argentina.

    Barrera Valencia, M, Neuropsychological description of executive functions and
    emotions in post traumatic stress disorder. Maimónides University, Buenos Aires, Argentina.

    Betancur Arias, J.D. Ecological validity of the assessment of emotional and functional
    patterns and quality of life in multiple sclerosis. Maimónides University, Buenos Aires,
    Argentina.

    Calderón Delgado, L. Neuropsychological description of executive functions and
    emotions in depression associated to psychological trauma. Maimónides University,
    Buenos Aires, Argentina.

    Cuadros Lombardi, J.P. The relationship between auditory verbal memory and reading
    comprehension. Maimónides University, Buenos Aires, Argentina.

    Currás, G. Naming function and attentional processes in Hispanic patients with mild traumatic brain
    injury as assessed by the Stroop Word and Color Test. Carlos Albizu University, Miami, FL USA.

    Gómez Botero, M. Neuropsychological profile of mild mental retardation. Maimónides University,
    Buenos Aires, Argentina.

    González, C.M. A study of the predictive validity of the Test of Non-Verbal Intelligence 2 in patients
    who report memory complaints. Maimónides University, Buenos Aires, Argentina.

    Isaza Zapata, A.I. Evaluation of cognitive impairment in ischemic vascular disease. Maimónides
    University, Buenos Aires, Argentina.

    Lewis Harb, S. The relationship between reading comprehension and intellectual functioning.
    Maimónides University, Buenos Aires, Argentina.

    Martinez Gómez, J. The use of the Test of Memory Malingering in identifying malingered cognitive
    dysfunction using a simulation design. Maimónides University, Buenos Aires, Argentina.

    Mejía Brando, M.X. Neuropsychological and neuroanatomical correlates of various forms of
    headaches. Maimónides University, Buenos Aires, Argentina.

    Nieto, R. Relationship between intellectual functioning and adaptive behavior in children with
    cerebral palsy. Maimónides University, Buenos Aires, Argentina.
Case 1:13-cv-24345-DLG Document 63-3 Entered on FLSD Docket 08/25/2014 Page 17 of 28



                                                                                                        16
    Páez, L. Ability to sustain attention in patients with mild traumatic brain injury evaluated through
    the Conners Continuous Performance Test-II. Maimónides University, Buenos Aires, Argentina.

    Pärdo, V.M. Effectiveness of a cognitive rehabilitation program for older adults with cognitive
    impairment. Maimónides University, Buenos Aires, Argentina.

    Pérez Verdecia, F. Effective training techniques in intellectual disabilities: A program design. Carlos
    Albizu University, Miami, FL USA.

    Pistoia, M. Development of a neuropsychological profile of ADHD (Attention Deficit Hyperactivity
    Disorder) and its different subtypes and its relationship to school failure. Maimónides University,
    Buenos Aires, Argentina.

    Rincón Forero, S. Executive functions in epilepsy secondary to traumatic brain injury.
    Maimónides University, Buenos Aires, Argentina.

    Salcedo-Samper, G. Intellectual functions and working memory in Hispanic patients with traumatic
    brain injury as assessed by the Reynolds Intellectual Assessment Scales. Carlos Albizu University,
    Miami, FL USA.

    Sánchez, F. Treatment for moderate cognitive impairments and depression in patients with
    congestive heart failure: A program design. Carlos Albizu University, Miami, FL USA

    Sandoval, M.R. Relationship between crystallized intelligence, fluid intelligence and working
    memory and school achievement. Maimónides University, Buenos Aires, Argentina.

    Silvestre Ortiz, G. The neuropsychological profile of patients with Type II diabetes. Maimónides
    University, Buenos Aires, Argentina.

    Vargas Manrique, S.M. The relationship between cognitive reserve and neuropsychological
    functioning in patients positive for HIV, Maimónides University, Buenos Aires, Argentina.

    TEACHING EXPERIENCE

    Undergraduate Level:

    Introduction to Psychology
    Developmental Psychology
    Differential Psychology
    Brain Behavior Relationship
    Theories of Personality
    Introduction to Psychopathology
    Educational Psychology
    Cognitive Processes
    History and Systems of Psychology
    Research Methods
Case 1:13-cv-24345-DLG Document 63-3 Entered on FLSD Docket 08/25/2014 Page 18 of 28



                                                                                         17
    Graduate Level:

    Applied Cognitive Neuroscience
    Research Methods in Psychology
    Education of Exceptional Children
    Introduction to Learning Disabilities
    Assessment of Intelligence
    Advanced Developmental Psychology
    Neuropsychological Bases of Learning Disorders
    Neuropsychological Models of Behavioral Disorders
    Psychoeducational Assessment of Pre-School Children
    Advances in Psychopathology
    Psychodiagnosis
    Assessment and Remediation of Perceptual Disorders
    Nature, Diagnosis and Rehabilitation of Aphasia
    Ethics and Professional Conduct in Psychology
    Psychotherapy with Children
    Neuropsychological Assessment
    Higher Cortical Functions
    Neuropsychological Rehabilitation
    Developmental Neuropsychology
    Clinical Neuropathology
    Mental Health
    Mental Health Counseling
    Advances in Child Psychiatry and Psychology
    Clinical Methods in Speech and Language Disorders
    Neuropsychological Bases of Speech and Language Disorders
    Professional Behaviors in Medical Practice

    PROFESSIONAL SEMINARS AND POST-DOCTORAL COURSES TAUGHT

    Contributions of Applied Cognitive Neuroscience to Psychotherapy. (Workshop
    presented at the 13th Congress of Psychology, Santa Marta, Colombia) 2010.

    A Review of Neuropsychological Instruments. (Didactic Session presented at the
    Goodman Psychological Services Center of Carlos Albizu University, Doral, Florida) 2009.

    Neuropsychological Foundations of Attention Deficit Hyperactivity Disorder.
    (Workshop presented at the VIII National Congress of Neurology, Cali, Colombia) 2007.

    Neuropsychological Foundations of Dyslexia. (Workshop presented at the VIII National
    Congress of Neurology, Cali, Colombia) 2007.

    The Practice of Neurocognitive Rehabilitation. (Workshop presented at the VIII National
    Congress of Neurology, Cali, Colombia) 2007
Case 1:13-cv-24345-DLG Document 63-3 Entered on FLSD Docket 08/25/2014 Page 19 of 28



                                                                                          18

    Attention Deficit Hyperactivity Disorder: A Neuroscience Perspective. (Workshop
    presented at the First Neuroscience Seminar on Attention Deficit Hyperactivity Disorder,
    Panama, Panama) 2007.

    Advances in Applied Cognitive Neuroscience. (Post-doctoral course taught at the
    School of Medicine and Humanities, Universidad Maimónides, Buenos Aires, Argentina)
    2002-2006.

    Advances in the Education and Treatment of the Difficult Child (Graduate Summer
    Course offered at the Division of Medical Psychology of the Department of Medical
    Specialties, Universidad de Alcalá, Madrid, Spain) 2002-2005.

    Neuropsychological Foundations of Developmental and Learning Disorders (Post
    Graduate Seminar offered at the School of Continuing Education, University of Miami,
    Coral Gables, FL) 1998-2000

    Diagnosis and Intervention in Early Developmental Disorders (Post Graduate Seminar
    offered at the School of Continuing Education, University of Miami, Coral Gables, FL)
    1998-2000

    Neuropsychological Diagnosis of Developmental and Learning Disorders (Post
    Graduate Seminar offered at the School of Continuing Education, University of Miami,
    Coral Gables, FL) 1998-2000

    Neurocognitive Intervention in Developmental and Learning Disorders (Post
    Graduate Seminar offered at the School of Continuing Education, University of Miami,
    Coral Gables, FL) 1998-2000

    Advances in Medical Psychology. (Post-doctoral course taught at the Department of
    Medical Specialties, Universidad de Alcalá, Madrid, Spain) 1997 and 1998.

    Psychophysiological Assessment in Medical Psychology. (Post-doctoral course taught
    at the Department of Medical Specialties, Universidad de Alcalá, Madrid, Spain) 1997 and
    1998.

    Advances in Psychopathology. (Post-doctoral course taught at the Department of
    Medical Specialties, Universidad de Alcalá, Madrid, Spain) 1997 and 1998.

    Hypnotherapy: Theoretical and Practical Applications to Medicine. (Seminar
    presented at the Department of Medical Specialties, Universidad de Alcalá, Madrid, Spain)
    1996 and 1997.

    Advances in Child and Adolescent Psychopathology: Diagnosis and Treatment of
    Attention Deficit Hyperactivity Disorder. (Workshop presented to the Faculty of the
Case 1:13-cv-24345-DLG Document 63-3 Entered on FLSD Docket 08/25/2014 Page 20 of 28



                                                                                        19
    School of Nursing, University of La Coruña, El Ferrol, Galicia, Spain) 1996.

    Contributions of Medical Psychology to the Treatment of the Cardiovascular Patient
    (Seminar presented at the Department of Medical Specialties, Universidad de Alcalá,
    Madrid, Spain) 1995.

    The Use of Electromyographic Self-Regulation in the Treatment of the Asthmatic
    Patient (Seminar presented at the School of Nursing and Physical Therapy, Universidad
    de Alcalá, Madrid, Spain) 1995.

    Crossed Eye-Hand Dominance and Learning Disabilities: Neuropsychological
    Implications (Seminar presented at the Department of Medical Specialties, Universidad
    de Alcalá, Madrid, Spain) 1995.

    Diagnostic and Therapeutic Strategies and Techniques in Child and Adolescent
    Psychopathology and Psychiatry (Post-doctoral course taught at the Department of
    Medical Specialties, Universidad de Alcalá, Madrid, Spain) 1995 and 1996.

    Anxiety Disorders in Child and Adolescent Psychiatry: A Practical Approach in
    Pediatrics
    (Post-doctoral course taught at the Department of Medical Specialties, Universidad de
    Alcalá, Madrid, Spain) 1995 and 1996.

    Clinical Techniques and Procedures of Physiological Self-Regulation Through
    Biofeedback (Workshop presented to the Faculty of the School of Physical Therapy,
    University of La Coruña, La Coruña, Galicia, Spain) 1995.

    Clinical Techniques and Procedures of Physiological Self-Regulation Through
    Biofeedback (Workshop presented to the Faculty of the School of Nursing, Universidad de
    La Coruña, El Ferrol, Galicia, Spain) 1995.

    Introduction to Physiological Self-Regulation (Workshop presented to the Faculty of the
    School of Physical Therapy, Universidad de La Coruña, La Coruña, Galicia, Spain) 1994.

    When a Child Dies: Implications for the Family and Physician (Seminar presented at
    the Department of Medical Specialties, Universidad de Alcalá, Madrid, Spain) 1994

    The Physician and Pain: When Medication Is Not Enough (Seminar presented at the
    Department of Medical Specialties, Universidad de Alcalá, Madrid, Spain) 1994.

    Foundations and Practice of Medical Psychotherapy (Seminar presented at the
    Department of Medical Specialties, Universidad de Alcalá, Madrid, Spain) 1994.

    Clinical Management of the Neurobehavioral Patient (Symposium presented under the
    auspices of the Movement for the Advancement of Psychiatry and the Neurology and
Case 1:13-cv-24345-DLG Document 63-3 Entered on FLSD Docket 08/25/2014 Page 21 of 28



                                                                                          20
    Neurosurgery Society, Santo Domingo, Dominican Republic) 1993.

    Neurobehavioral Sequelae of Closed Head Injury (Workshop presented at the XXIV
    Inter-American Congress of Psychology, Santiago, Chile) 1993.

    Neuropsychological Bases of Depression and Schizophrenia (Seminar presented at
    the Department of Medical Specialties, Universidad de Alcalá, Madrid, Spain) 1993.

    The Embryology of Behavior and Developmental Diagnosis (Seminar presented at the
    Department of Medical Specialties, Universidad de Alcalá, Madrid, Spain) (1992) (1994).

    The Neuropsychological Interpretation of the Wechsler Intelligence Scales (Seminar
    presented at the Department of Medical Specialties, Universidad de Alcalá, Madrid, Spain)
    1992.

    The Practice of Rehabilitation Medicine in the Year 2000 (Summer course presented at
    the Department of Medical Specialties, Universidad de Alcalá, Madrid, Spain) 1992.

    Advances in Child Psychiatry and Psychology (Post-doctoral course presented at the
    Department of Medical Specialties, Universidad de Alcalá, Madrid, Spain) (1992) (1993)
    (1994).

    Neurocognitive Sequelae of Traumatic Head Injury (Presentation made at the Second
    Annual Orthopedic-Neurological Medical Symposium, Miami, FL) 1992.

    Neuropsychological Assessment (Seminar presented at the Department of Medical
    Specialties, Universidad de Alcalá, Madrid, Spain) 1991.

    A Protocol for the Assessment of Psychophysiological Correlates of Pain
    (Presentation made at the First Orthopedic-Neurological Medical Symposium, Miami, FL)
    1991.

    Neuropsychological Assessment of Children with Learning Disabilities and Mental
    Retardation (Seminar presented in Caracas, Venezuela, under the auspices of the
    AVEPANE Center for Mental Retardation and Human Development) 1986.

    Neuropsychological Bases of Learning Disabilities (Seminar presented to the Dade
    County Public Schools Psychology Department) 1985.

    Neuropsychological Bases, Diagnosis and Rehabilitation of Aphasia (Post Graduate
    Continuing Education Seminar presented at the Caribbean Center for Advanced Studies,
    San Juan, Puerto Rico) 1983.

    Neuropsychological Bases of Dementia and Cognitive Impairment in the Aged (Post
    Graduate Continuing Education Seminar presented at the Caribbean Center for Advanced
Case 1:13-cv-24345-DLG Document 63-3 Entered on FLSD Docket 08/25/2014 Page 22 of 28



                                                                                        21
    Studies, San Juan, Puerto Rico) 1983.

    Neuropsychological Bases of Learning Disabilities (Post Graduate Continuing
    Education Seminar presented at the Caribbean Center for Advanced Studies and the
    School of Continuing Studies of the University of Miami) 1984.

    Neuropsychological Assessment of Learning Disabled and Mentally Retarded
    Children (Post Graduate Seminar presented in Panama, under the auspices of the
    Organization of Spanish American States and the Panamanian Institute of Special
    Habilitation) 1984.

    Neuropsychological and Psychoeducational Approaches to Learning Disabilities
    (Seminar presented in Quito, Ecuador, under the auspices of the Organization of Spanish
    American States) 1984.

    Neuropsychological Assessment of Learning Disabled Children (Seminar presented
    in Valencia, Spain, under the auspices of the Organization of Spanish American States)
    1982.

    Neuropsychological and Psychoeducational Diagnosis of Learning Disabilities
    (Seminar presented to the Department of Special Education, under the auspices of the
    Dominican Republic/Organization of American States Special Education Project) 1982.

    Neuropsychological Bases and Rehabilitation of Aphasia (Graduate course presented
    at the AVEPANE University Institute of Special Education, Caracas, Venezuela) 1979.

    Psychological Assessment of Spanish Speaking-Spanish Surnamed Youngsters
    (Seminar presented to the Michigan Educational Association and the Michigan State
    Department of Education, under the auspices of Eastern Michigan University) 1975.

    Psychological Assessment of Spanish Speaking-Spanish Surnamed Youngsters
    (Seminar presented to the Midwestern Bilingual Education Project, under the auspices of
    Chicago State University), 1975.

    SIGNIFICANT ACCOMPLISHMENTS

    Diplomate and Fellow of the AMERICAN BOARD OF MEDICAL PSYCHOTHERAPY
    AND PSYCHODIAGNOSIS (1987).
    Diplomate of the AMERICAN BOARD OF PROFESSIONAL DISABILITY
    CONSULTANTS (1991).
    Diplomate of the AMERICAN ACADEMY OF PAIN MANAGEMENT (1992).
    Diplomate in Neuropsychology and Medical Psychology of the AMERICAN BOARD OF
    PSYCHOLOGICAL SPECIALTIES (1998).

    Doctor of Education and Humanities (Honoris Causa) (1998) School of Education and
Case 1:13-cv-24345-DLG Document 63-3 Entered on FLSD Docket 08/25/2014 Page 23 of 28



                                                                                       22
    Humanities. Universidad Nacional Pedro Henríquez Ureña. Santo Domingo, Dominican
    Republic.

    Honored Professor (2007) Universidad del Norte. Barranquilla, Colombia.

    President of Honor (2010) II International Congress of Applied Cognitive Neuroscience.
    Santo Domingo, Dominican Republic.
Case 1:13-cv-24345-DLG Document 63-3 Entered on FLSD Docket 08/25/2014 Page 24 of 28




                           JORGE A. HERRERA, PH.D., P.A.
                               100 MIRACLE MILE
                                    SUITE 330
                             CORAL GABLES, FL 33134
                                 (305) 445-3222




                                   FEE SCHEDULE




                        DEPOSITION                   $550 PER HOUR
                        COURT APPEARANCE             $550 PER HOUR
                        REVIEW OF RECORDS            $250 PER HOUR
                        CONFERENCE                   $550 PER HOUR
Case 1:13-cv-24345-DLG Document 63-3 Entered on FLSD Docket 08/25/2014 Page 25 of 28




            2007

       IVAN CARBALLO -DEPOSITION
       CASE: 02-12680 CACE 02

       JOSUE LOPEZ - DEPOSITION
       CASE: 6691-04-06894 (CA) 05

       NILO JEREZ - COURT APPEARANCE
       CASE: 05-187719- CA 9

       BRAULIO CADENA\DAVID CADENA - DEPOSITION
       CASE: 2006-CA-00554

       ROBETO BAYOLA - DEPOSITION
       CASE: 06-5950

       OSCAR PABON - DEPOSITION
       CASE: 04-26575 CA 09

       JOSE SOTO - DEPOSITION
       CASE: 05-022333 GCC
Case 1:13-cv-24345-DLG Document 63-3 Entered on FLSD Docket 08/25/2014 Page 26 of 28




            2008


       MARIO SANABRIA - DEPOSITION
       CASE: 00-021093 CMH

       RIUBEN FROMETTA - DEPOSITON
       CASE: 05-8439 CA21

       FELIX ARELLANO - DEPOSITON
       CASE: 05-730 CA

       LEONARDO CAMPES - DEPOSITION
       CASE: 0522760 CA 09

       HAROLD PATTERSON - DEPOSITION
       CASE: 05-005553 SMS

       GILBERTO CRUZ - DEPOSITON
       CASE: 502008 CA 007299

       DAVID CRUZ - DEPOSITION
       CASE: 502008 CA 7304

       OSWALDO BRITO - DEPOSITION
       CASE: 08-018309 SM
Case 1:13-cv-24345-DLG Document 63-3 Entered on FLSD Docket 08/25/2014 Page 27 of 28




       2009

       MARVIN RIVAS - DEPOSITION
       CASE: 98 016593 HHH

       GARY BARRIOS - DEPOSITION
       CASE: 08-4148 CA 21

       FELIX ARELLANO - COURT APPEARANCE
       CASE: 05 730 CA

       GARY BARRIOS - COURT APPEARANCE
       CASE: 08 4148 CA 21

       OLGA RUIZ DEPOSITION
       CASE: 08 23966 CA 13

       2010

       ROSA MIRANDA - DEPOSITON
       CASE: 7854 08 CA 19275

       JEREMY MATTIS
       08-005808 (05)

       ANDRE HARRIGAN
       08-CV-124
Case 1:13-cv-24345-DLG Document 63-3 Entered on FLSD Docket 08/25/2014 Page 28 of 28




       2012

       ALEXIS CANDELARIO SANTANA (PUERTO RICO)
       Cr. NO. 09247
       DEFENSE

       KAMARI LEWIS (US VIRGIN ISLANDS)
       DEFENSE

       2013


       XAVIER JIMENEZ (PUERTO RICO)
       DEFENSE
